     Case 1:20-cv-03127-SAB    ECF No. 118     filed 12/01/20   PageID.3340 Page 1 of 3



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 9                            UNITED STATES DISTRICT COURT
10                        EASTERN DISTRICT OF WASHINGTON
11
                                          AT YAKIMA
12
       STATE OF WASHINGTON, STATE OF   NO. 1:20-cv-03127-SAB
13
       COLORADO, STATE OF CONNECTICUT,
14     STATE OF ILLINOIS, STATE OF
       MARYLAND, STATE OF MICHGAN,     DEFENDANTS’ NOTICE OF
15
       STATE OF MINNESOTA, STATE OF    APPEAL
16     NEVADA, STATE OF NEW MEXICO,
       STATE OF OREGON, STATE OF RHODE
17
       ISLAND, STATE OF VERMONT,
18     COMMONWEALTH OF VIRGINIA, and
19     STATE OF WISCONSIN,

20                              Plaintiffs,
21        v.
22     DONALD J. TRUMP, in his official capacity
23     as President of the United States of America;
       UNITED STATES OF AMERICA; LOUIS
24     DEJOY, in his official capacity as Postmaster
25     General; UNITED STATES POSTAL
       SERVICE,
26
27                               Defendants.

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                               DEFENDANTS’ NOTICE OF APPEAL
     Case 1:20-cv-03127-SAB    ECF No. 118    filed 12/01/20   PageID.3341 Page 2 of 3



 1                                    NOTICE OF APPEAL
 2           NOTICE IS HEREBY GIVEN that Defendants, Donald J. Trump, in his
 3      official capacity as the President of the United States of America, Louis DeJoy, in
 4      his official capacity as United States Postmaster General, the United States Postal
 5      Service, and the United States, appeal to the United States Court of Appeals for the
 6      Ninth Circuit from the following orders: this Court’s September 17, 2020 Order
 7      (Docket No. 81), and this Court’s October 2, 2020 Order (Docket No. 90).
 8
       Dated: December 1, 2020         Respectfully submitted,
 9
                                       JEFFREY BOSSERT CLARK
10                                     Acting Assistant Attorney General

11                                     ERIC R. WOMACK
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                                       /s/ Joseph E. Borson
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                                DEFENDANTS’ NOTICE OF APPEAL
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 1                                CERTIFICATE OF SERVICE
 2            I hereby certify that on this 1st day of December, I electronically filed the
 3      foregoing Notice of Appeal with the Clerk by using the CM/ECF system. I certify
 4      that all participants in the case are registered CM/ECF users and that service will be
 5      accomplished by the CM/ECF system.
 6
       Dated: December 1, 2020
 7
 8
                                           By: /s/Alexis J. Echols
 9                                             ALEXIS J. ECHOLS
10                                              Counsel for Defendants
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                                DEFENDANTS’ NOTICE OF APPEAL
